Case 8:21-cv-00902-VMC-CPT Document 1-1 Filed 04/15/21 Page 1 of 3 PagelD 10

IN THE CIRCUIT COURT OF THE THIRTEENTH JUDICIAL CIRCUIT
IN AND FOR HILLSBOROUGH COUNTY, FLORIDA
CIVIL DIVISION

PAULA JOHNSON-LANG

Plaintiff, CASE NO.: 21-CA001194

DIVISION: B
vs.

FAMILY DOLLAR STORES OF FLORIDA,
LLC.

Defendant,

 

AMENDED COMPLAINT

 

Plaintiff, PAULA JOHNSON-LANG, sues Defendant, FAMILY
DOLLAR STORES OF FLORIDA, LLC., and alleges:

1. This is an action for damages in excess of $30,000.00,

exclusive of costs and fees.

2. On or about January 24, 2019, Defendant, FAMILY DOLLAR
STORES OF FLORIDA, LLC., owned or was in possession and control

of the FAMILY DOLLAR located at 10220 North 30t8 Street, Tampa,

FL 33612.

3. At that time and place, Plaintiff, PAULA JOHNSON-LANG,
was lawfully on the property as a customer of the store.

4, At all times material to the fact, Defendant, FAMILY
DOLLAR STORES OF FLORIDA, LLC., was negligent in failing to

maintain the premises in a reasonably safe condition and/or
Case 8:21-cv-00902-VMC-CPT Document 1-1 Filed 04/15/21 Page 2 of 3 PagelID 11

negligent in failing to correct a dangerous condition in which
the Defendant, FAMILY DOLLAR STORES OF FLORIDA, LLC., either
knew or should have known existed by the use of reasonable care.
In addition, despite Defendant’s superior knowledge, Defendant,
FAMILY DOLLAR STORES OF FLORIDA, LLC., failed to warn of a
dangerous condition. Said dangerous condition being, to wit, the
Defendant, FAMILY DOLLAR STORES OF FLORIDA, LLC, created an
unreasonably unsafe entrance/exitway and allowed a handbasket
holder to tumble over and obstruct the entrance/exitway which
created a tripping hazard. Additionally, there were no warning
mechanisms in place to warn the Plaintiff, PAULA JOHNSON-LANG,
of the impending danger.

5. As a direct and proximate result of Defendant, FAMILY
DOLLAR STORES OF FLORIDA, LLC’S., negligence, as described
above, Plaintiff, PAULA JOHNSON-LANG, tripped and fell suffering
bodily injury and resulting pain and suffering, disability,
disfigurement, mental anguish, loss of capacity for the
enjoyment life, expense of hospitalization, medical and nursing
care and treatment, loss of earnings, loss of ability to earn
money, and aggravation of a previously existing condition.
Plaintiff, PAULA JOHNSON-LANG, losses are permanent and

continuing.
Case 8:21-cv-00902-VMC-CPT Document 1-1 Filed 04/15/21 Page 3 of 3 PagelD 12

WHEREFORE Plaintiff, PAULA JOHNSON-LANG, demands judgment
against Defendant, FAMILY DOLLAR STORES OF FLORIDA, LLC., for
damages in excess of $30,000.00, together with pre and post
judgment interest, costs and such other and further relief as
this Court deems just and appropriate to protect Plaintiff's

rights and interests, and respectfully demands a trial by jury.

ANDERSON & ANDERSON, P.A.

BY: _ i)

TIMOTHY/G. ANDERSON, JR., ESQUIRE
Florida Bar No. 14122

ROBERT J. POLLICK, ESQUIRE
Florida Bar No. 104803

213 South Brevard Avenue

Tampa, Florida 33606

(813) 251-0072

Email: service@tgalaw.com
Attorney for Plaintiff

 
